               IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF DELAWARE

                                            Chapter 11
In re
                                            Case Nos. 23-11069 (CTG), et seq.
YELLOW CORPORATION, et al.,                 (jointly administered)

              Debtors.                      Hearing date: December 12, 2023, 10:00 a.m.
                                            Objection deadline: December 5, 2023



                              NOTICE OF MOTION

TO: Parties listed on the Certificate of Service

      Paul Edward Fowler (“Movant”) has filed a Motion for Relief From The
Automatic Stay (the “Motion”), which seeks the following relief: Relief from the
automatic stay to prosecute litigation under applicable non-bankruptcy law against one
or more of the above-captioned debtors for claims arising from a vehicle accident,
including but not limited to pursuing available insurance proceeds.

     HEARING ON THE MOTION WILL BE HELD ON DECEMBER 12,
2023 AT 10:00 A.M. PREVAILING EASTERN TIME.

       You are required to file a response, if any, on or before December 5, 2023 at
4:00 P.M. Prevailing Eastern Time. At the same time, you must also serve a copy of
the response upon Movant’s attorneys:

              Adam Hiller, Esquire             W. Winston Briggs, Esquire
              Hiller Law, LLC                  W. Winston Briggs Law Firm
              300 Delaware Avenue              2957 N Fulton Dr NE
              Suite 210, #227                  Atlanta, Georgia 30305
              Wilmington, Delaware 19801       (404) 522-1500 telephone
              (302) 442-7677 telephone         wbriggs@winstonbriggslaw.com
              ahiller@adamhillerlaw.com

      The hearing date specified above may be a preliminary hearing or may be
consolidated with the final hearing, as determined by the Court.
      The attorneys for the parties shall confer with respect to the issues raised by the
motion in advance for the purpose of determining whether a consent judgment may be
entered and/or for the purpose of stipulating to relevant facts such as value of the
property, and the extent and validity of any security instrument.
    IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE,
THE RELIEF REQUESTED IN THE MOTION MAY BE GRANTED BY THE
COURT WITHOUT FURTHER NOTICE OR HEARING.
Dated: November 17, 2023                 Respectfully submitted,
       Wilmington, Delaware
                                         HILLER LAW, LLC


                                          /s/ Adam Hiller
                                         Adam Hiller (DE No. 4105)
                                         300 Delaware Avenue, Suite 210, #227
                                         Wilmington, Delaware 19801
                                         (302) 442-7677 telephone
                                         ahiller@adamhillerlaw.com

                                         -and-

                                         W. Winston Briggs, Esquire
                                         W. Winston Briggs Law Firm
                                         2957 N Fulton Dr NE
                                         Atlanta, Georgia 30305
                                         (404) 522-1500 telephone
                                         wbriggs@winstonbriggslaw.com

                                         Attorneys for Movant, Paul Edward Fowler




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